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                                                                             August 22, 2023
VIA ECF

                                _________________________________________________
The Hon. John G. Koeltl         Application granted. SO ORDERED.
Daniel Patrick Moynihan
United States Courthouse        New York, New York          /s/ John G. Koeltl
500 Pearl Street,               August 23, 2023          John G. Koeltl, U.S.D.J.
New York, NY 10007              _________________________________________________
       Re:     Banco San Juan Internacional, Inc. v. Federal Reserve Bank of New York,
               No. 23-cv-6414 (JGK) (JLC)

Dear Judge Koeltl:

       I write pursuant to Section VI.2 of the Court’s Individual Practices to request leave to file
under seal certain information in support of the New York Fed’s opposition to Plaintiff Banco
San Juan Internacional, Inc’s (“BSJI”) motion for a preliminary injunction, filed July 25, 2023
(“PI Motion”). The parties have conferred and BSJI does not object to this motion.

        In particular, the New York Fed seeks permission to file (i) a redacted version of its
memorandum of law in opposition to the PI Motion (the “Opposition”), and (ii) under seal or
redact portions of Exhibits H, J, K, L, M, N, R, S, and T of the Declaration of Michael Brennan,
which contain non-public, commercial information about BSJI, including recent financial data,
information about its compliance program, references to supervisory information, and
information specific to BSJI’s customers and customer transaction activity.

       At the outset of this matter, before it was assigned to Your Honor, BSJI received
permission to redact or file under seal “highly sensitive, confidential information concerning
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BSJI’s operations, clients, and interactions with its regulator.”1 The redacted or sealed material
relates to “personal, financial information concerning BSJI’s customers and their accounts,”
“non-public information exchanged with BSJI’s Supervisor, the Office of the Commissioner of
Financial Institutions of Puerto Rico,” and “commercial information about BSJI’s operations
contained in several private examiners’ reports.” Given that BSJI has redacted or filed under
seal these categories of information claiming that their disclosure would cause competitive harm,
in an abundance of caution, the New York Fed seeks permission to file the same types of
information (and in at least one case, the same communication) under seal.

         The Second Circuit has established a three-part test to determine whether documents may
be placed under seal. See City of Providence v. BATS Global Markets, Inc., No. 14-CV-2811
(JMF), 2022 WL 539438, at * 1 (S.D.N.Y. Feb. 23, 2022) (citing Lugosch v. Pyramid Co. of
Onondaga, 435 F.3d 110, 119 (2d Cir. 2006). First, the court must determine whether the
documents are “judicial documents” and that “therefore a common law presumption of access
attaches.” Id. Second, once the court concludes that the documents are judicial documents and a
presumption of access attaches, the court “must determine the weight of that presumption.” Id.
Third, “the court must balance competing considerations against the presumption of access,
including the danger of impairing law enforcement or judicial efficiency and the privacy interests
of those resisting disclosure.” Id. (internal quotation marks omitted). To be approved, any
redaction or sealing of a court filing must be narrowly tailored to serve whatever purpose
justifies the redaction or sealing and must otherwise be consistent with the presumption in favor
of public access to judicial documents. See Lugosch, 435 F.3d at 119-120.

        Confidential customer information is the type of information that courts have determined
implicates privacy interests of third parties that outweigh the presumption of access. See, e.g.,
City of Providence, at *2 (granting motion to seal spreadsheet containing customer revenue and
business development strategy presentation containing confidential customer information); Tyson
Foods, Inc. v. Keystone Foods Holdings, Ltd, No. 1:19-cv-010125 (ALC), 2020 WL 5819864, at
* 2 (S.D.N.Y Sept. 30, 2020) (granting motion to seal “customer information, including their
identities and purchases”); Saint-Jean v. Emigrant Mortgage Co., No. 11-CV-2122 (SJ), 2016
WL 11430775, at * 4 (E.D.N.Y. May 24, 2016) (granting motion to redact “customer names,
Social Security numbers, loan numbers, addresses, telephone numbers, loan terms, and/or other
information regarding Emigrant’s customers”). Similarly, Courts have granted motions to seal
commercially sensitive information, which, if disclosed, would cause competitive harm. See,
e.g., Rubik’s Brand Ltd. v. Flambeau, Inc., No. 17-CV-6559 (PGG) (KHP), 2021 WL 1085338,
at *1 (S.D.N.Y. Mar. 22, 2021) (granting motion to seal license agreements, invoices, and
documents relating to marketing strategy).

       The New York Fed has narrowly tailored its request to file exhibits under seal and redact
references to those exhibits in its Opposition to protect the privacy interests of third parties and
prevent any purported competitive harm claimed by BSJI by disclosing commercially sensitive
information.


1
 See BSJI’s Memorandum of Law in Support of Plaintiff’s Motion for Leave to File Redacted
Complaint and Order to Show Cause for Temporary Restraining Order at 1-2 (1:23-mc-000241-
LAP (“Miscellaneous Case”) Entry No. 1) and Miscellaneous Case Entry No. 3.
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        Given the foregoing, the New York Fed respectfully submits that there is good cause to
grant its motion for leave to file under seal.


                                             Respectfully submitted,



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Cc: All counsel of record (via ECF)
